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13                         UNITED STATES DISTRICT COURT
14                        CENTRAL DISTRICT OF CALIFORNIA
                                WESTERN DIVISION
15
16     MICHAEL CORDERO,                     ) No. 2:19-cv-08993 KK
17                                          )
18           Plaintiff,                     ) JUDGMENT OF REMAND
                                            )
19                  v.                      )
20                                          )
       ANDREW SAUL,                         )
21     Commissioner of Social Security,     )
22                                          )
             Defendant.                     )
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1            The Court having approved the parties’ Stipulation to Voluntary Remand
2      Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
3      (“Stipulation to Remand”) lodged concurrent with the lodging of the within
4      Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
5      DECREED that the above-captioned action is remanded to the Commissioner of
6      Social Security for further proceedings consistent with the Stipulation to Remand.
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8
9      DATED:      7/14/20
                                             HON. KENLY KIYA KATO
10                                           UNITED STATES MAGISTRATE JUDGE
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